    Case 8:21-cv-01586-VMC-TGW Document 1 Filed 07/01/21 Page 1 of 5 PageID 1




                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION


    ROBERT R. REAMER, III                                   )
                                                            )
                   Plaintiff,                               )
                                                            )
    v.                                                      )
                                                            ) CASE NO.: CASENUMBER
    ELITE PAINTLESS DENT REPAIR, LLC &                      )
                                                            )
    RYAN LANCASTER,                                         )
                                                            )
                   Defendants.                              )
                                                            )
                                                            )

                                        AMENDED COMPLAINT

         Plaintiff, ROBERT R. REAMER, III (“REAMER”), by and through undersigned counsel,

hereby sues Defendant, ELITE PAINTLESS DENT REPAIR, LLC (“ELITE”), and Defendant,

RYAN LANCASTER (“LANCASTER”) (collectively, “Defendants”), and alleges:

                                            NATURE OF CASE

         1.      This is an action for unpaid minimum wages under the Fair Labor Standards Act,

29 U.S.C. §§ 201-216 (“FLSA”).1

                                          JURISDICTION AND VENUE

         2.      Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1331, 29 U.S.C. §

1367, and 29 U.S.C. § 216(b).

         3.      Venue of this action properly lies in this Court pursuant to 28 U.S.C. § 1391.

                                                        PARTIES



1
  The undersigned notes that REAMER additionally intends to amend to bring an action for unpaid minimum wages
under Article 10, Section 24 of the Florida Constitution and the Florida Minimum Wage Act, Florida Statute § 448.110
(“FMWA”) in the event Defendants fail to comply with REAMER’s demand letter for payment of the same, which is
a precondition to bringing such action.
 Case 8:21-cv-01586-VMC-TGW Document 1 Filed 07/01/21 Page 2 of 5 PageID 2




       4.      REAMER is an individual and citizen of the state of Florida, who resides in

Hillsborough County, Florida.

       5.      ELITE is a limited liability company organized and existing under the laws of the

State of Florida, with its principle place of business located in Pinellas County, Florida. ELITE is

a for-profit entity that holds itself out as providing paintless dent repair services on automobiles

throughout Pinellas County, Florida, Hillsborough County, Florida, and certain Florida counties

surrounding the aforementioned counties.

       6.      LANCASTER is an adult citizen of the state of Florida. LANCASTER is an owner

of ELITE. He exercises significant control over its operations as owner and as its Chief Executive

Officer.

                                                 FACTS

       7.      In or about February of 2018, REAMER began employment with Defendants.

       8.      From in or about February of 2018 through in or about July of 2019, REAMER

worked approximately twenty hours or more each week for Defendants. During this time,

Defendants did not properly pay REAMER for his hours worked. Hereinafter, this time period is

referred to as the “Unpaid Part Time Period.”

       9.      From in or about July of 2019 through November of 2019, REAMER worked

approximately forty hours or more each week for Defendants. During this time, Defendants did

not properly pay REAMER for his hours worked. Hereinafter, this time period is referred to as

the “Unpaid Full Time Period.”

       10.     In or about August of 2020, REAMER separated from employment with

Defendants.




                                                 2
 Case 8:21-cv-01586-VMC-TGW Document 1 Filed 07/01/21 Page 3 of 5 PageID 3




       11.     During the Unpaid Part Time Period and the Unpaid Full Time Period, REAMER

was a non-exempt employee, under and as defined by the FLSA.

       12.     Defendants had actual and constructive knowledge that REAMER was not paid for

hours worked during the Unpaid Part Time Period and the Unpaid Full Time Period.

       13.     As a result of Defendants’ unlawful acts, REAMER has been forced to retain the

undersigned counsel.

       14.     During REAMER’s employment with ELITE, LANCASTER exercised significant

control over ELITE operations, including but not limited to the authority to hire and fire

employees, determine compensation, control over employment-related records, and similar power

with respect to control of ELITE’s day-to-day operations.

       15.     Any and all conditions precedent to bringing the claims herein have been satisfied

or waived.

                COUNT I – FLSA UNPAID OVERTIME AND MINIMUM WAGE
                                  (Against Defendants)

       16.     REAMER incorporates by reference, and as if fully restated herein, the allegations

contained in Paragraphs 1-15 of this Complaint.

       17.     Defendants are subject to the FLSA.

       18.     During the Unpaid Part Time Period and the Unpaid Full Time Period, Defendants

were REAMER’s employer, as that term is defined by the FLSA.

       19.     During the Unpaid Part Time Period and the Unpaid Full Time Period, Defendants

failed to pay REAMER minimum wages, as a result of Defendants’ unlawful pay practices,

policies, and procedures.

       20.     Defendants knew that REAMER was not being paid for hours worked.

       21.     Defendants failed to make and preserve accurate wage and hours records.

                                                  3
 Case 8:21-cv-01586-VMC-TGW Document 1 Filed 07/01/21 Page 4 of 5 PageID 4




       22.     Defendants’ failure to pay REAMER minimum wages was intentional and willful.

       23.     As a direct and legal consequence, REAMER has suffered damages.

       24.     REAMER is entitled to liquidated damages and attorneys’ fees and costs incurred

in connection with this claim.

       WHEREFORE, REAMER respectfully requests the following:

                a.    Enter judgment in his favor for unpaid minimum wages under the FLSA;

                b.    Award the full amount of unpaid minimum wages, liquidated damages, and

                      pre-judgment interest, and any other monetary relief permitted by law;

                c.    Award attorneys’ fees and costs;

                d.    Enter equitable relief mandating the cessation of the unlawful pay practices,

                      policies, and procedures; and

                e.    Grant any other relief this Court deems just and proper.

                            COUNT II - UNJUST ENRICHMENT
                                  (Against Defendants)

       25.     REAMER incorporates by reference, and as if fully restated herein, the allegations

contained in Paragraphs 1-15 of this Complaint.

       26.     REAMER conferred benefits in the form of services on Defendants, of which

Defendants were aware.

       27.     Defendants voluntarily accepted and retained the benefits conferred.

       28.     The circumstances render Defendants’ retention of the benefits inequitable unless

Defendants pay REAMER the value of the benefits.

       29.     Defendants have been unjustly enriched at the expense of REAMER.

       30.     REAMER is entitled to damages as a result of Defendant’s unjust enrichment.




                                                  4
Case 8:21-cv-01586-VMC-TGW Document 1 Filed 07/01/21 Page 5 of 5 PageID 5




    WHEREFORE, REAMER respectfully requests that this Court:

           a. Enter judgment in its favor of REAMER against Defendants;

           b. Award REAMER monetary damages;

           c. Award REAMER attorneys’ fees, costs and related expenses, and prejudgment
              and post-judgment interest on the foregoing amounts at the maximum rate
              permitted by law; and

           d. Grant such other and further relief as this Court deems just and proper.

                            DEMAND FOR JURY TRIAL

    REAMER hereby requests a jury trial for all issues so triable.

    Dated: July 1, 2021                         Respectfully submitted,

                                                /s/ Alissa A. Kranz
                                                ALISSA A. KRANZ
                                                Florida Bar No. 112050
                                                Primary Email: akranz@czattorneys.com
                                                WILLIAM J. CANTRELL
                                                Florida Bar Number 0103254
                                                Primary Email: wcantrell@czattorneys.com
                                                Secondary Email: lcaulder@czattorneys.com
                                                CANTRELL ZWETSCH, P.A.
                                                401 East Jackson Street, Suite 2340
                                                Tampa, Florida 33602
                                                Telephone: 800-698-6650
                                                Facsimile: 813-867-0116




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